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5
                            UNITED STATES DISTRICT COURT
6                          EASTERN DISTRICT OF WASHINGTON
7
       UNITED STATES OF AMERICA,              )
8                                             )     No. CR-12-120-RMP-5
                         Plaintiff,           )
9                                             )     ORDER DENYING MOTION TO
       v.                                     )     MODIFY CONDITIONS OF
10                                            )     RELEASE, INTER ALIA
       JUAN ALBERTO SILVA-TELLEZ,             )
11                                            )     R ECF No 137 DENIED
                         Defendant.           )
12                                            )

13          At the February 21, 2013, hearing on Defendant’s Motion to

14    Modify (ECF No. 137), Defendant appeared with counsel George Trejo;

15    Assistant U.S. Attorney Matt Duggan represented the United States.

16          The court, having considered the proffers of Defendant and

17    Plaintiff, finds defendant is in compliance with the conditions of

18    release.

19          The motion to remove electronic monitoring is DENIED with leave

20    to renew.      However, Pretrial Services is given the discretion to

21    relax Mr. Silva’s curfew as needed.

22          Dated:    February 27, 2013

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24                               s/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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      ORDER - 1
